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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION




          CHANGE OF PLEA IN


          CRIMINAL NO. CR218-14              Bmnswick,GA


                                                                    7;


                      WITH CONSENT OF THE COURT,THE

              DEFENDANT                Richard Carter           ,HAVING

          PREVIOUSLY ENTERED A PLEA OF ^ot Guilty

          HEREBY WITHDRAWS THAT PLEA AND ENTERS A PLEA

          Qp Guilty                  pQ Count twenty-three(23)- Lesser Included

           IN THE INDICTMENT.



                      THIS   21 St   DAY OF             September           , 2018.




NOLLE PROSSE AS                                                      J P/0^-
                                                                   Richard Carter DEFENDANT
TO COUNT(S)


                                                              COU                 -fifeFE^DANT
                                                                                   ^oinas Peterson
